                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF MISSISSIPI
                                 EASTERN DIVISION

RUSTY HOLLOWAY                                                                     PLAINTIFF

VERSUS                                            CIVIL ACTION NO. 2:15-cv-86-KS-MTP

LAMAR COUNTY;
MIKE PURVIS, individually and
in his official capacity; JASON
MCNELLY individually and
in his official capacity                                                      DEFENDANTS

                                AGREED ORDER OF DISMISSAL

       This day this cause came on to be heard on the joint, ore tenus motion of the parties to

dismiss the instant cause of action with prejudice, and the Court, having considered the

same and having been advised that the parties are in agreement thereto, is of the opinion

that said motion is well-taken and should be granted.

       IT IS THEREFORE ORDERED, that this cause is hereby dismissed with prejudice

and that each party shall bear their own costs.

       SO ORDERED AND ADJUDGED this the              19th   day of April, 2017.

                                                     s/Keith Starrett
                                                   United States District Court Judge
AGREED:

/s/Daniel M. Waide
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